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                                                          April 3, 2025

    VIAECF

    Honorable Paul A, Engelmayer
    United States District Court
    Southern District of New York
    40 Foley Square, Room 2201
    New York, New York 10007

                    Re:    Baldwin v. TMPL Lexington LLC et al., 23-CV-9899 (PAE)

     Dear Judge Engelmayer:

             I am writing to request a stay of discovery proceedings so that the parties can attempt a
     resolution of this matter.

           On February 13, 2025, Your Honor granted Plaintiffs request for an extension of time to
    complete discovery by April 21, 2025. Since that time, we have engaged in discovery and have
    completed one deposition. Four depositions are scheduled for next week and one deposition is
    scheduled for the week after that.

            The Plaintiff and Defendants believe that settlement discussions may be fruitful at this
    time and would like to move forward with them without having to incur the significant expense
    of taking additional depositions. We do not believe that we would be able to resolve the matter
    before the taking of additional depositions or by April 21, 2025, but would like the opportunity
    to explore settlement.

            Therefore, we respectfully request that the Court grant a stay of discovery to permit the
    parties to explore a settlement of this matter. Our preference is to pursue a private settlement and
    not seek a referral to Magistrate Judge Ricardo at this time. We are available to discuss this
    matter further at the Court's convenience.

                                                          Respectfully submitted,

                                                          Isl Isabelle A. Kirshner
                                                          Isabelle A. Kirshner, Esq.
                                                          Counselfor Defendants
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GRANTED. The Court is persuaded that a stay of discovery is merited in order to
facilitate settlement. But, in light of this case's long history, the Court will
authorize only a brief such stay. Specifically, the Court will stay the fact discovery
end date by one month, i.e., until May 21, 2025, for the purpose of facilitating
settlement. The parties are to submit forthwith a revised case management plan
consistent with a stay of this duration.


SO ORDERED.


                    PAUL A. ENGELMA YER
                    United States District Judge


April 4, 2025
New York, New York
